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                             Converting Case Pg 1 of 2

EXHIBIT 22 - ORDER CONVERTING CASE (DKT. 271)




  The relief described hereinbelow is SO ORDERED.



  Signed July 13, 2023.

                                                     __________________________________
                                                            H. CHRISTOPHER MOTT
                                                     UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________



                      IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

   IN RE:                                       §
   PDG PRESTIGE, INC.                           §   CASE NO. 21-30107-hcm
                Debtor.                         §   (Chapter 11)

                        ORDER CONVERTING CASE TO CHAPTER 7

          On July 13, 2023, the Court conducted a hearing on the Motion to Convert Case

   to Chapter 7 (“Motion”) (dkt# 264) filed by the reorganized debtor PDG Prestige, Inc.

   (“Debtor”). A Response to the Motion (dkt# 268) was filed by Legalist DIP GP, LLC

   (“Legalist”). Appearing at the hearing were counsel for the Debtor, counsel for Legalist,

   and counsel for the U.S. Trustee.

          The Court has considered the Motion, the Response, the record in this bankruptcy

   case, the evidence, and the statements and arguments of counsel. For the reasons set

   forth by the Court in its oral ruling on the record on July 13, 2023, the Court finds that

   “cause” exists under 11 U.S.C. §1112(b) and that conversion (rather than dismissal) of

   this Chapter 11 case to a Chapter 7 case is in the best interests of creditors.

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                           Converting Case Pg 2 of 2




    IT IS THEREFORE ORDERED, ADJUDGED AND DECREED AND NOTICE IS
HEREBY GIVEN AS FOLLOWS:

       1.     This Chapter 11 case of the Debtor is hereby converted to a case under

Chapter 7.

       2.     Within 14 days after entry of this Order, the Debtor shall file amended

schedules indicating any change to the creditors list, schedules, and statement of

financial affairs as may be applicable, or amend such items to reflect any changes,

including but not limited to the inclusion of any property acquired or disposed of since the

entry of the order for relief under Chapter 11, in accordance with Local Bankruptcy Rule

1019. If no amendments are necessary, the Debtor shall file a certificate to that effect

within such 14-day period.

       3.     Within 14 days after entry of this Order, the Debtor shall file a schedule of

unpaid debts incurred after the filing of the Chapter 11 petition, in accordance with Rule

1019(5)(A) of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”).

       4.     Within 30 days after entry of this Order, the Debtor shall file and transmit to

the U.S. Trustee a final report and account (“Final Report”), in accordance with

Bankruptcy Rule 1019(5).

       5.     Within 30 days after entry of this Order, the Debtor shall file a schedule of

property and unpaid debts not listed in the Final Report and a schedule of any executory

contracts and unexpired leases as required by Bankruptcy Rule 1019(5)(C).



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